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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

             -against-
                                                                ORDER
JOSE BRITO,
                                                            20 Cr. 63 (PGG)
                            Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

                  WHEREAS, defendant Jose Brito wishes to plead guilty before a Magistrate

Judge;

                  WHEREAS, in light of the ongoing COVID-19 pandemic, the proceeding is

scheduled to take place remotely;

                  WHEREAS the Court understands that the assigned Magistrate Judge shall hear

the defendant’s plea by telephone because videoconferencing is not reasonably available;

                  WHEREAS the CARES Act and findings made by the Judicial Conference of the

United States and Chief Judge Colleen McMahon of the Southern District of New York allow for

guilty pleas to be taken by phone or video, subject to certain findings made by the presiding

District Judge;

                  WHEREAS the offense of conviction carries no mandatory minimum sentence

and thus it is possible that the Court may impose a sentence of time served.

                  THE COURT HEREBY FINDS, that because the defendant, after consultation

with counsel, has consented to proceeding remotely, the plea proceeding cannot be further

delayed without serious harm to the interests of justice.
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Dated: New York, New York
       October 16, 2020
